Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 1 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 2 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 3 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 4 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 5 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 6 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 7 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 8 of 27
Case 08-23639-RG   Doc 15   Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document     Page 9 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 10 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 11 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 12 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 13 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 14 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 15 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 16 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 17 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 18 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 19 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 20 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 21 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 22 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 23 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 24 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 25 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 26 of 27
Case 08-23639-RG   Doc 15    Filed 06/15/09 Entered 06/15/09 13:21:37   Desc Main
                            Document      Page 27 of 27
